       Case 4:19-cv-07123-PJH       Document 376   Filed 09/05/24    Page 1 of 4




 1    Greg D. Andres
      Antonio J. Perez-Marques
 2    Craig T. Cagney
 3    Luca Marzorati
       (admitted pro hac vice)
 4    DAVIS POLK & WARDWELL LLP
      450 Lexington Avenue
 5    New York, New York 10017
      Telephone: (212) 450-4000
 6
      Facsimile: (212) 701-5800
 7    Email: greg.andres@davispolk.com
               antonio.perez@davispolk.com
 8             craig.cagney@davispolk.com
               luca.marzorati@davispolk.com
 9
      Micah G. Block (SBN 270712)
10    DAVIS POLK & WARDWELL LLP
      1600 El Camino Real
11
      Menlo Park, California 94025
12    Telephone: (650) 752-2000
      Facsimile: (650) 752-2111
13    Email: micah.block@davispolk.com

14   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
15

16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                       OAKLAND DIVISION
19    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
20                                      )
                                        )
21                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          FILE UNDER SEAL
22           v.                         )
                                        )          Ctrm: 3
23    NSO GROUP TECHNOLOGIES LIMITED )             Judge: Hon. Phyllis J. Hamilton
      and Q CYBER TECHNOLOGIES LIMITED, )
24                                      )
                                        )
25                    Defendants.       )          Action Filed: October 29, 2019
                                        )
26                                      )
27

28
       Case 4:19-cv-07123-PJH           Document 376         Filed 09/05/24      Page 2 of 4




 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) by and through their

 4   counsel, respectfully submit this Administrative Motion for an order permitting them to file under

 5   seal Exhibit A to the Declaration of Craig T. Cagney in Support of Plaintiffs’ Opposition to Defend-

 6   ants’ Motion for Reconsideration of Discovery Order and to Compel Production of Documents Due

 7   to Plaintiffs’ Failure to Provide a Privilege Log (“Exhibit A”).

 8          Plaintiffs request that Exhibit A be filed under seal pursuant to Civil Local Rules 79-5(c) and

 9   (d). Exhibit A has been designated and produced in discovery as “Highly Confidential – Attorney’s

10   Eyes Only” pursuant to the August 31, 2020 Stipulated Protective Order, Dkt. No. 132. Exhibit A

11   reflects confidential privileged communications among Plaintiffs’ employees regarding NSO’s at-

12   tacks and other sensitive business and regulatory matters.

13          The appropriate standard for sealing here is “good cause.” Plaintiffs have submitted Exhibit

14   A in response to NSO’s motion for reconsideration regarding its request to compel production of a

15   privilege log—a non-dispositive motion that only tangentially relates to the case—so the moving

16   party need only show “good cause” for why the documents should remain under seal. Wells Fargo

17   & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.).

18   “Good cause” requires only “a particularized showing” that sealing is appropriate, which “will suffice

19   to seal documents produced in discovery.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172,

20   1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th

21   Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an exception for discovery-related

22   motions makes sense, as the private interests of litigants are ‘the only weights on the scale.’” (quoting

23   Kamakana, 447 F.3d at 1180)).

24          Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

25   that confidential business information satisfies the compelling reasons standard, which is far more

26   “exacting” than the good-cause standard applicable here. Jones v. PGA Tour, Inc., 2023 WL

27   7440303, at *2 (N.D. Cal. May 18, 2023) (granting plaintiff’s renewed sealing motion with respect

28
                                                        1
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH            Document 376          Filed 09/05/24   Page 3 of 4




 1   to information including “confidential financial information and projections,” “confidential business

 2   strategy information,” and “internal decision-making processes”); see also In re Sony Gaming Net-

 3   works & Customer Data Sec. Breach Litig., 2015 WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015)

 4   (permitting sealing records where the records related “to confidential business plans and operations,”

 5   were “subject to a contractual duty of confidentiality,” and where “harm could result to [the parties’]

 6   business operations” if the information were prematurely disclosed); In re Qualcomm Litig., 2017

 7   WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established compelling

 8   reasons to file under seal records that implicate “confidential business information” subject to confi-

 9   dentiality agreements). Publicly disclosing these materials would risk harm to Plaintiffs’ business

10   and would provide competitors an unfair advantage by providing access to internal business deliber-

11   ations. This harm could not be mitigated by any means less restrictive than sealing.

12           For the foregoing reasons, Plaintiffs request permission to file Exhibit A under seal. This

13   request is narrowly tailored to only sealable material.

14           This motion and copies of any relevant attachments will be served on counsel of record as

15   listed in the attached certificate of service.

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        2
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH         Document 376       Filed 09/05/24    Page 4 of 4




 1

 2    Dated: September 4, 2024                  Respectfully Submitted,

 3                                              DAVIS POLK & WARDWELL LLP
 4
                                                By: /s/ Craig T. Cagney
 5
                                                    Micah G. Block (SBN 270712)
 6                                                  DAVIS POLK & WARDWELL LLP
                                                    1600 El Camino Real
 7                                                  Menlo Park, California 94025
                                                    Telephone: (650) 752-2000
 8                                                  Facsimile: (650) 752-2111
 9                                                  Email: micah.block@davispolk.com

10                                                     Greg D. Andres
                                                       Antonio J. Perez-Marques
11                                                     Craig T. Cagney
                                                       Luca Marzorati
12                                                      (admitted pro hac vice)
13                                                     DAVIS POLK & WARDWELL LLP
                                                       450 Lexington Avenue
14                                                     New York, New York 10017
                                                       Telephone: (212) 450-4000
15                                                     Facsimile: (212) 701-5800
                                                       Email: greg.andres@davispolk.com
16
                                                              antonio.perez@davispolk.com
17                                                            craig.cagney@davispolk.com
                                                              luca.marzorati@davispolk.com
18
                                                       Attorneys for Plaintiffs WhatsApp LLC and
19                                                     Meta Platforms, Inc.
20

21

22

23

24

25

26

27

28
                                                   3
     ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
